       Case 1:24-cv-07875-VEC                Document 11-1           Filed 11/26/24   Page 1 of 29




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------
SUSAN COMPETELLO, on behalf of herself and                                Case No.
all others similarly situated,
                                                                          CLASS ACTION AMENDED
                             Plaintiff,                                   COMPLAINT
                                                                          & DEMAND FOR JURY
                      v.                                                  TRIAL

SOULFLORA INC.,

                             Defendant.
-----------------------------------------------------------------


         Plaintiff, SUSAN COMPETELLO (“Plaintiff” or “Ms. Competello”), on behalf of herself

and all others similarly situated (collectively, “Plaintiffs”), by and through their undersigned

counsel, JOSEPH & NORINSBERG, LLC, as and for their class action complaint upon Defendant,

SOULFLORA, INC. (“Defendant”), hereby alleges as follows:

                                            INTRODUCTION

         1.       Plaintiff, SUSAN COMPETELLO, is a visually-impaired and legally blind person

who requires screen-reading software to read website content while using her computer. (Ex. A –

SUSAN COMPETELLO, Legally Blind Diagnosis, dated 11/20/2023). Plaintiff uses the terms

“blind” or “visually-impaired,” as Plaintiff’s central visual acuity with correction is less than or

equal to 20/200. Some sight-impaired individuals who meet this definition have limited vision

while others have zero vision.

         2.       Defendant, SOULFLORA INC. is a New Jersey corporation that owns and

maintains the Website, www.soulflora.com (the “Website” or “Defendant’s Website”) and a

physical dispensary located at 2713 NJ-23 #5A, West Milford, NJ 07435.
                                                         1
         Case 1:24-cv-07875-VEC                Document 11-1   Filed 11/26/24    Page 2 of 29




           3.       Plaintiff brings this civil action against Defendant for their failure to design,

construct, maintain, and operate the Defendant’s Website to be fully accessible to and

independently usable by Plaintiff and other blind or visually-impaired people. Defendant’s denial

of full and equal access to the Website, www.soulflora.com and therefore its denial of the goods

and services offered thereby, is a violation of Plaintiff’s rights under the Americans with

Disabilities Act (“ADA”).

           4.       Based on a 2020 U.S. Census Bureau report, approximately 8.1 million people in

the United States are visually impaired, 1 including 2.0 million who are blind. According to a 2016

report published by the National Federation of the Blind, approximately 418,500 visually impaired

persons live in the State of New York. 2

           5.       Congress provides a clear and national mandate for the elimination of

discrimination against individuals with disabilities. Such discrimination includes barriers to full

integration, independent living, and equal opportunity for persons with disabilities, including those

barriers created by websites and other public accommodations that are inaccessible to blind and

visually impaired persons. Similarly, both New York State and New York City law requires places

of public accommodation to ensure access to goods, services, and facilities by making reasonable

accommodations for persons with disabilities.

           6.       Defendant’s Website is not equally accessible to blind and visually impaired

consumers; therefore, Defendant is in violation of the ADA. Plaintiff now seeks a permanent




1
    See United States Census Bureau Report.
2
    See 2016 National Federation for the Blind Report.
                                                         2
      Case 1:24-cv-07875-VEC            Document 11-1        Filed 11/26/24      Page 3 of 29




injunction to cause a change in the Defendant’s corporate policies, practices, and procedures so

that Defendant’s Website will become and remain accessible to blind and visually-impaired

consumers.

                                JURISDICTION AND VENUE

          7.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12182,

et seq.

          8.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

claims under the New York State Human Rights Law, Article 15 (Executive Law § 290 et seq.)

(“NYSHRL”); the New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

(“NYCHRL”) & § 296 et seq.; and the New York State Civil Rights Law, Article 4, § 40-c and §

40-d (“NYCRL”).

          9.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and (c), in that

Defendant conducts and continues to conduct a substantial and significant amount of business in

this District, via the Internet and a substantial portion of the conduct complained of herein

occurred in this District because Plaintiff attempted to utilize, on a number of occasions, the subject

Website within the Southern District of New York, based upon Plaintiff’s New York County

residence.

          10.     Defendant, SOULFLORA INC. is a New Jersey corporation with its principal place

of              business         located           at:          2713            NJ-23            #5A,

West Milford, N. J., 07435, and is subject to personal jurisdiction in this District because

Defendant purposefully targets and otherwise solicits business from New York State residents
                                                  3
      Case 1:24-cv-07875-VEC                 Document 11-1            Filed 11/26/24         Page 4 of 29




through its highly interactive Website, www.soulflora.com. (last accessed on October 15, 2024).

         11.      Defendant has been and is committing the acts or omissions alleged herein in the

Southern District of New York, and in so doing, violated the rights the ADA prescribes to Plaintiff

and to other blind and other visually impaired-consumers, causing them to suffer injury. A

substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred in this District

on several separate occasions.

         12.      Plaintiff has been denied the full use and enjoyment of the facilities, goods and

services offered to the general public, on Defendant’s Website in New York County. These access

barriers that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access multiple

times in the past, and now deter Plaintiff on a regular basis from accessing the Defendant’s Website

www.soulflora.com in the future. Relevant precedent has established that venue is proper in the

district in which Plaintiff tried and failed to access a website. 3

         13.      The United States Department of Justice Civil Rights Division has recently stated

that, “[t]he Department has consistently taken the position that the ADA’s requirements apply to

all the goods, services, privileges, or activities offered by public accommodations, including those

[ed class of individuals under the ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and the NYCHRL. Plaintiff is unable

to utilize a computer or device without the assistance of screen-reading software, such as



3
  See, e.g. Chloe NA v. Queen Bee of Beverly Hills, LLC., 616 F.3d 158 (2d Cir. 2010); Reed v. 1-800-Flowers.com,
Inc., 327 F.Supp.3d 539 (E.D.N.Y. 2018) (exercising personal jurisdiction over forum plaintiff’s website accessibility
claims against out-of-forum website operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp. 3d 365 (E.D.N.Y.
2017); see also Ford Motor Co. v. Mont. Eighth Judicial Dist. Court, 141 S.Ct. 1017 (2021) (personal jurisdiction can
be found as long as the company conducted business in the consumer’s home state that relates in some way to the
consumer’s injuries, such as engaging in other transactions for similar products).
                                                          4
     Case 1:24-cv-07875-VEC           Document 11-1        Filed 11/26/24      Page 5 of 29




Nonvisual Desktop Access or “NVDA.”

       14.     Upon information and belief, Defendant SOULFLORA INC. is a New Jersey

corporation with its principal place of business located at 2713 NJ-23 #5A,

West Milford, N. J., 07435, and with their concomitant Website, www.soulflora.com. This

Website and the goods and services offered thereupon, is a “public accommodation” within

the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(j). See Andrews v. Blick Art

Materials, LLC, 268 F.Supp.3d 381 (E.D.N.Y. 2017); Romero v. 88 Acres Foods, Inc., 580

F.Supp.3d 9 (S.D.N.Y. 2022).

                                        NATURE OF ACTION

       15.     The Internet has become a significant source of information, a portal, and a tool for

conducting business, doing everyday activities such as shopping, learning, banking, researching, as

well as many other activities for sighted, blind, and visually-impaired persons alike.

       16.      In today’s tech-savvy world, blind and visually impaired people have the ability

to access websites using keyboards in conjunction with screen access software that vocalizes the

visual information found on a computer screen or displays the content on a refreshable Braille

display. This technology is known as screen-reading software. Screen-reading software is currently

the only method a blind or visually-impaired person may use to independently access the Internet.

Unless websites are designed to be read by screen reading software, blind, and visually-impaired

persons are unable to fully access websites, and the information, products, goods and contained

thereon.

       17.      Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screens-reading software programs available to them. Some
                                                 5
         Case 1:24-cv-07875-VEC        Document 11-1         Filed 11/26/24      Page 6 of 29




of these programs are available for purchase and other programs are available without the user

having to purchase the program separately, such as the popular screen-reading software program

for a Windows computer, Nonvisual Desktop Access “NVDA.”

          18.    For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind or visually-impaired user is unable to access the same content available to sighted

users.

          19.   Screen readers have rules and expectations about what the gathered information is

and should be and use sophisticated rules to interpret what it has “seen” i.e., gathered with help from

the operating system, the app in question, and other ways. Based on information gathered and

subsequently interpreted, screen readers use components such as text-to-speech (TTS), braille, and

other output mechanisms to present screen content. (see, e.g. NVDA illustration below):




                                                  6
      Case 1:24-cv-07875-VEC             Document 11-1      Filed 11/26/24      Page 7 of 29




       20.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as “W3C,” has published version 2.1 of the Web Content

Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for

making websites accessible to blind and visually-impaired people. These              guidelines are

universally followed by most large business entities and government agencies to ensure

websites are accessible.

       21.     Non-compliant websites pose common access barriers to blind and visually

impaired persons. Common barriers encountered by blind and visually impaired persons include,

but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted persons
                       are not provided;

               e.      Information about the meaning and structure of content is not conveyed
                       by more than the visual presentation of content;

               f.      Text cannot be resized without assistive technology up to 200% without
                       losing content or functionality;

               g.      If the content enforces a time limit, the user is not able to extend, adjust or
                       disable it;

               h.      Web pages do not have titles that describe the topic or purpose;

               i.      The purpose of each link cannot be determined from the link text alone or

                                                 7
     Case 1:24-cv-07875-VEC           Document 11-1        Filed 11/26/24      Page 8 of 29




                       from the link text and the programmatically determined link context;

               j.      One or more keyboard operable user interface lacks a mode of operation
                       where the keyboard focus indicator is discernible;

               k.      The default human language of each web page cannot be programmatically
                       determined;

               l.      When a component receives focus, it may initiate a change in context;

               m.      Changing the setting of a user interface component may automatically cause
                       a change of context where the user has not been advised before using the
                       component;

               n.      Labels or instructions are not provided when content requires user input,
                       which include captcha prompts that require the user to verify that he or she
                       is not a robot;

               o.      In content which is implemented by using markup languages, elements do
                       not have complete start and end tags, elements are not nested according to
                       the specifications, elements may contain duplicate attributes, and/or any IDs
                       are not unique;

               p.      Inaccessible Portable Document Format (PDF); and

               q.      The name and role of all User Interface elements cannot be
                       programmatically determined; items that can be set by the user cannot be
                       programmatically set; and/or notification of changes to these items is not
                       available to user agents, including assistive technology.

       22.     Websites have features and content that are modified on a daily, and in some

instances, hourly basis, and a one-time “fix” to an inaccessible digital platform will not cause the

digital platform to remain accessible without a corresponding change in corporate policies related

to those web-based technologies. To evaluate whether an inaccessible website has been rendered

accessible, and whether corporate policies related to website technologies have been changed in

a meaningful manner that will cause the website to remain accessible, the website must be

reviewed on a periodic basis using both automated accessibility screening tools and end user
                                                 8
      Case 1:24-cv-07875-VEC            Document 11-1        Filed 11/26/24       Page 9 of 29




testing by disabled individuals.

                                           STANDING

       23.        Plaintiff, SUSAN COMPETELLO, is a blind, visually-impaired handicapped

person and a member of a protected class of individuals under the ADA, under 42 U.S.C. §

12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.,

and NYCHRL. For Plaintiff to access the Internet, she must utilize a computer which contains a

screen-reader, such as “NVDA for Windows.”

       24.        Screen reader “software translates the visual Internet into an auditory equivalent.

At a rapid pace, the software reads the content of a webpage to the user.” Andrews v. Blick Art

Materials, LLC, 286 F.Supp.3d 365, 375 (E.D.N.Y. 2017) As Judge Weinstein explained:

       “The screen reading software uses auditory cues to allow a visually impaired user
       to effectively use websites. For example, when using the visual internet, a seeing
       user learns that a link may be “clicked,” which will bring her to another webpage,
       through visual cues, such as a change in the color of the text (often text is turned
       from black to blue). When the sighted user's cursor hovers over the link, it changes
       from an arrow symbol to a hand.

       The screen reading software uses auditory—rather than visual—cues to relay this
       same information. When a sight impaired individual reaches a link that may be
       “clicked on,” the software reads the link to the user, and after reading the text of the
       link says the word “clickable.”…Through a series of auditory cues read aloud by
       the screen reader, the visually impaired user can navigate a website by listening and
       responding with the keyboard.”

Id.   at   373.     see    also    American    Federation    for   the   Blind,    Screen    Readers,

https://www.afb.org/blindness-and-low-vision/using-technology (“Computer Access for People

Who Are Blind or Have Low Vision," & "Using Technology") (Last accessed on September 10,

2024; estimating 26.0 million adult American reported sight deficiency).

       25.        Plaintiff was injured when attempting to access Defendant’s Website,
                                                   9
     Case 1:24-cv-07875-VEC            Document 11-1        Filed 11/26/24       Page 10 of 29




www.soulflora.com around October 11, 2024, from her home in New York County, in an effort

to search for and purchase Defendant’s products and services, including their premium edible, “1:1

Blue Razzleberry Mega Pearl - CBG/THC,” with the following descriptive, “Treat your tastebuds

to a blast of berry in an uplifting 1:1 ratio of CBG and THC. CBG has been seen to produce a

stimulating, vitalizing high, perfect for kickstarting your next creative project, fueling your outdoor

adventure, or boosting your next get-together with friends,” and which cost “$24.00” See

www.soulflora.com/menu

       26.     Approximately 25 years ago, Plaintiff’s life had been irrevocably altered when she

was diagnosed with retinitis pigmentosa which was the primary cause of her progressive blindness

and persistent, constant headaches with migraine level pain.

       27.     The initial ten years post-diagnosis saw Plaintiff relying on prescribed medications

to manage the relentless pain. Recognizing the dangers of dependency, Plaintiff made the decision

to cease the use of those prescribed medications upon discovering that specific strains of marijuana

(and related products) could also provide significant pain relief and is 100% legal.Consequently,

Plaintiff has been sourcing both smokeless and edible forms of marijuana from various providers,

many of which operate in the legal gray area, operating without regard for the law or the well-

being of their customers. These companies, often operating in the shadows, have shown a blatant

disregard for the safety and health of their consumers, including the Plaintiff. They exploit the

desperation of individuals like the Plaintiff simply seeking relief from the physical pain and

discomfort.

       28.     Plaintiff discovered Defendant’s Website around August 10, 2024, as a result of a

glowing recommendation by a close friend who had been aware of Plaintiff’s condition, and the
                                                  10
     Case 1:24-cv-07875-VEC           Document 11-1       Filed 11/26/24      Page 11 of 29




potential benefits and uses of marijuana and related products. Both Plaintiff and this friend

frequently travel to various states to visit different casinos and resorts around the country,

including in New Jersey. Plaintiff holds a New York Medical Marijuana Card, and, during a

recently planned trip, they intended to visit the dispensary, purchase the desired edibles, and

consume them while in New Jersey. The intended purchase was particularly motivated by the

positive feedback and the unique offerings available at the dispensary, which Plaintiff was keen

on adding to their collection. Upon information and belief, most New Jersey dispensaries are

considered reciprocal and honor identification from participating states. Therefore, on that same

day, Plaintiff accessed Defendant’s Website, www.soulflora.com for the first time with a sighted

relative and was very impressed with the thoroughness of each product sold online, detailing each

of its unique characteristics.

        29.     The Website itself provided basic information about most of the products, including

its origin, strain type, and in some cases, the THC and CBD content. This level of detail was not

only informative but also crucial for the Plaintiff, who relies on specific strains to manage her

ailments. The user reviews and ratings on the Website further added to their credibility, offering

real-world experiences of other consumers. However, despite the Websites apparent thoroughness

and transparency, Plaintiff encountered significant accessibility barriers that prevented her from

fully utilizing its services, when she attempted to access the site by herself to discover crucial

information regarding the presence of any contraindications therein. This has not only limited her

ability to make informed decisions but also infringed on her rights as a consumer and individual

with a disability.

        30.     First, the Website www.soulflora.com contains thousands of individual products,
                                                11
      Case 1:24-cv-07875-VEC                Document 11-1           Filed 11/26/24         Page 12 of 29




each with its own “product tile” or “product card,” a separate area that displays the products image,

name, price, and other relevant information. Each product tile contains a “link,” which serves as a

navigational tool that directs users to different sections of the site or to an entirely different site

altogether. When clicked, it transports the user from their current location to the destination

specified by the link. In the context of product tiles, each tile contains a link that, when clicked,

brings the user to a specific product page allowing the user to explore more details. This allows

the user to explore more details, such as its features, pricing and reviews. Therefore, links play a

crucial role in enhancing user experience, facilitating easy navigation and structuring their

websites information hierarchy. They are fundamental to the interconnected nature of the Internet.

        31.      However, a link without an accessible name can significantly impact the blind user

who relies on a screen reader. If a link lacks an accessible name, the screen reader may not be able

to provide meaningful information about the links function or destination. This can lead to

confusion and difficulty in navigation for the user, as it is crucial for web accessibility that all links

have descriptive and unique and accessible names. This ensures that screen reader users can

understand and use the website effectively, enhancing their overall user experience. It's not just

good practice, but it's also a requirement under the Web Content Accessibility Guidelines. which

ideally brings the user to that specific product.

        32.      For instance, as stated, Plaintiff sought information about their product, “1:1 Blue

Razzleberry Mega Pearl - CBG/THC,” by Gron. 4



4
 “[A] women-led band of visionaries founded in 2015 by mother and architect-turned-chocolatier, Christine Smith.
Grön creates delicious, handcrafted cannabis-infused edibles for the community. What started as one delicately
nuanced dark chocolate bar has since expanded to multiple product lines available internationally, serving millions
of happy customers.” See, www.soulflora.com/menu/gm/1-1-blue-razzleberry-mega-pearl-cbg-thc.
                                                        12
       Case 1:24-cv-07875-VEC           Document 11-1        Filed 11/26/24      Page 13 of 29




        33.       Products in general by Gron were highly recommended and which Plaintiff

understood to contain properties that helps the user with “creativity,” “energy,” “focus,”

“depression,” and “inspiration.” Moreover, this product is known to help alleviate moderate pain

stemming from migraine headaches, thus making this product highly desirable to Plaintiff in

particular.

        34.       Moreover, the Webpage provides a description of this product, stating “Treat your

tastebuds to a blast of berry in an uplifting 1:1 ratio of CBG and THC. CBG has been seen to

produce a stimulating, vitalizing high, perfect for kickstarting your next creative project, fueling

your    outdoor     adventure,   or   boosting   your    next   get-together   with   friends.”   See,

www.soulflora.com/menu/gm/1-1-blue-razzleberry-mega-pearl-cbg-thc. (last accessed November

26, 2024)

        35.       However, none of the descriptive statements were audible to Plaintiff as a result of

the numerous access barriers, including but not limited to; lack of “Alternative Text,” which is a

brief description of an image or written print that is used to convey the content and function of an

image to those who cannot see it. This includes people who are blind or visually impaired and rely

on screen readers to access digital content. ‘Alt text,’ is also useful when an image fails to load, as

it provides context about what the image represents, an overlay that is required. This lack of

information caused Plaintiff to suffer confusion and exasperation while navigating

www.soulflora.com but did not deter Plaintiff from trying again the following day to determine

whether the website was brought up-to-date, or sufficiently altered to allow Plaintiffs’

understanding of the Webpages content. However, despite Plaintiff’s attempt to access this

information, the Website was not as of that point, remediated.
                                                   13
     Case 1:24-cv-07875-VEC          Document 11-1        Filed 11/26/24      Page 14 of 29




       36.     As a result of visiting Defendant’s Website from her home, Plaintiff is aware that

significant portions of www.soulflora.com are unusable, due to various barriers that deny her full

and equal access to Defendant’s online products and services.

       37.     On October 15, 2024, Plaintiff’s counsel conducted accessibility audits of

www.soulflora.com to corroborate the existence of those barriers which prevented Plaintiff from

conducting a search for desired products, information, and services and the potential purchase of

the same. Specifically, Plaintiff's counsel conducted an accessibility audit using Power Mapper’s

“Sort Site” accessibility program which confirmed the presence of multiple violations of the

ADA, as reflected within the completion of said audits. See Ex. B – Sort Site Report, (dated

October 15, 2024) which indicated the presence of 6 ‘Priority I’ Errors, including but not limited

to: Broken/Empty Links; Contrast Errors; Suspicious Alternative Text; Skipped Heading Levels;

amongst other barriers, which when encountered by Plaintiff in this case caused her confusion and

exasperation when unable to discern crucial information about the desired products.

       38.     Due to the aforementioned access barriers, which prevented Plaintiff from

discerning crucial information about the desired goods and services, Plaintiff was unable to

complete her search and purchase those desired products and services.

       39.     The law requires that the Defendant reasonably accommodate Plaintiff’s

disabilities by removing these and all existing access barriers. Plaintiff has been, and in absence

of an injunction, will continue to be injured by Defendant’s failure to provide the online content

and services in a manner that is compatible with screen reader technology.

       40.     Defendant’s denial of full and equal access to and enjoyment of the goods, benefits,

and services of the Website, has caused Plaintiff to suffer an injury in fact due to Plaintiff’s
                                                14
     Case 1:24-cv-07875-VEC            Document 11-1        Filed 11/26/24       Page 15 of 29




inability to purchase the desired items, which is a concrete and particularized injury, and is a direct

result of Defendant’s conduct.

       41.     Despite this direct harm and frustration, Plaintiff is determined to access the

Website again – following their remediation. Plaintiff’s aim is to explore and purchase from the

broad array of products offered by Defendant with the goal to identify the most suitable products

(whether marijuana or related products) which could potentially ease the symptoms caused by the

disease which had caused her blindness and constant headaches with migraine level pain. Plaintiff

intends to utilize the services of Defendant, and their Website, www.soulflora.com, because she

has in the past utilized similar websites that took advantage of her physical condition by failing to

sell the advertised products. However, Plaintiff’s online research revealed that this company is

one of the more-reputable companies, and their products extremely cost-effective, and contains

thousands of related products which may potentially rid Plaintiff of her headaches.

       42.     Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

and other visually-impaired consumers with equal access to the Website, Plaintiff alleges that

Defendant has engaged in acts of intentional discrimination, including but not limited to the

following policies or practices:

               a.      Constructing and maintaining a Website that is inaccessible to
                       visually-impaired individuals, including Plaintiff;

               b.      Failing to construct and maintain a Website that is sufficiently intuitive
                       so as to be equally accessible to visually impaired individuals,
                       including Plaintiff; and

               c.      Failing to take actions to correct these access barriers in the face of
                       substantial harm and discrimination to blind and visually-impaired
                       consumers, such as Plaintiff, as a member of a protected class.

                                                  15
     Case 1:24-cv-07875-VEC            Document 11-1         Filed 11/26/24       Page 16 of 29




       43.     Defendant therefore uses standards, criteria, or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others, as alleged herein.

       44.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities . . . [w]here appropriate, injunctive relief shall also include
       requiring the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

         45.   Because Defendant’s Website has never been equally accessible, and because

 Defendant lacks a corporate policy that is reasonably calculated to cause the website to

 become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a

 permanent injunction requiring Defendant to retain a qualified consultant acceptable to

 Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply with WCAG 2.1

 guidelines for Defendant’s Websites. Plaintiff seeks that this permanent injunction requires

 Defendant to cooperate with the Agreed Upon Consultant to:

               a.      Train Defendant’s employees and agents who develop the Website on
                       accessibility compliance under the WCAG 2.1 guidelines;

               b.      Regularly check the accessibility of the Website under the WCAG 2.1
                       guidelines;

               c.      Regularly test user accessibility by blind or vision-impaired persons to
                       ensure that Defendant Website complies under the WCAG 2.1 guidelines;
                       and;

               d.      Develop an accessibility policy that is clearly disclosed on Defendant’s
                       Website, with contact information for users to report accessibility-related
                       problems.
                                                  16
     Case 1:24-cv-07875-VEC           Document 11-1          Filed 11/26/24       Page 17 of 29




       46.     Although Defendant may currently have centralized policies regarding maintaining

and operating the Website, Defendant lacks a plan and policy reasonably calculated to make them

fully and equally accessible to, and independently usable by, blind and other visually-impaired

consumers.

       47.     Upon information and belief, Defendant has invested substantial sums in

developing and maintaining the Website and has generated significant revenue from their online

platforms. These amounts are far greater than the associated cost of making Defendant’s Website

equally accessible to visually impaired customers. Without injunctive relief, Plaintiff and other

visually-impaired consumers will continue to be unable to independently use the Website.

                                   CLASS ACTION ALLEGATIONS

       48.      Plaintiff, SUSAN COMPETELLO, on behalf of herself and all others similarly

situated, seeks to certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the United States who have attempted to access Defendant’s Website and as a

result have been denied access to the equal enjoyment of goods and services, during the relevant

statutory period.

       49.      Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a New

York City Subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the

City of New York and State of New York who have attempted to access Defendant’s Website and

as a result have been denied access to the equal enjoyment of goods and services offered, during

the relevant statutory period.

       50.      Common questions of law and fact exist amongst the Class, including:

                                                  17
     Case 1:24-cv-07875-VEC             Document 11-1         Filed 11/26/24    Page 18 of 29




                a.      Whether Defendant’s Website is a “public accommodation” under the
                        ADA;

                b.      Whether Defendant’s Website is a “place or provider of public
                        accommodation” under the NYCHRL;

                c.      Whether Defendant’s Website denies the full and equal enjoyment of the
                        products,  services,   facilities,  privileges,      advantages,   and/or
                        accommodations to people with visual disabilities, violating the ADA; and

                d.      Whether Defendant’s Website denies the full and equal enjoyment of the
                        products, services, facilities, privileges, advantages, or accommodations to
                        people with visual disabilities, violating the NYCHRL, NYCRL, and the
                        NYHRL

        51.     Plaintiff’s claims are typical of the Class. The Class, similar to the Plaintiff, are

severely visually impaired or otherwise blind, and claim that Defendant has violated the ADA,

NYSHRL, NYCRL and/or the NYHRL by failing to update or remove access barriers on the

Website so that the websites can be independently accessible to the Class.

        52.     Plaintiff will fairly and adequately represent and protect the interests of the Class

Members because Plaintiff has retained and is represented by counsel who is competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the Class Members. Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2)

because Defendant has acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

        53.     Alternatively, Class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because fact and legal questions common to Class Members predominate over questions affecting

only individual Class Members, and because a class action is superior to other available methods

for the fair and efficient adjudication of this litigation.

                                                   18
     Case 1:24-cv-07875-VEC             Document 11-1         Filed 11/26/24       Page 19 of 29




        54.     Judicial economy will be served by maintaining this lawsuit as a class action in that

it is likely to avoid the burden that would be otherwise placed upon the judicial system by the filing

of numerous similar suits by people with visual disabilities throughout the United States.

        55.     Moreover, judicial economy will be served maintaining this lawsuit as a class action

for numerosity purposes in that it is likely that the number of patrons who have attempted to utilize

the services of Defendant’s online platform exceeds 50 or more sight-impaired individuals.

                               FIRST CAUSE OF ACTION
                     (Violations of the ADA, 42 U.S.C. § 12182 et seq.)

        56.     Plaintiff, SUSAN COMPETELLO, on behalf of herself and the Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

        57.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

        No individual shall be discriminated against on the basis of disability in the full and
        equal enjoyment of the goods, services, facilities, privileges, advantages, or
        accommodations of any place of public accommodation by any person who owns,
        leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).

        58.     Defendant’s physical dispensary, & concomitant Website are a “public

accommodation” within the definition of Title III of the ADA, 42 U.S.C. § 12181(7). The Website

that is offered as a link to the dispensary and entity is a service that is offered to the general public,

and as such, must be equally accessible to all potential consumers.

        59.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the products,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).
                                                   19
     Case 1:24-cv-07875-VEC             Document 11-1       Filed 11/26/24       Page 20 of 29




        60.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, inter alia:

        [A] failure to make reasonable modifications in policies, practices, or procedures,
        when such modifications are necessary to afford such goods, services, facilities,
        privileges, advantages, or accommodations to individuals with disabilities, unless
        the entity can demonstrate that making such modifications would fundamentally
        alter the nature of such goods, services, facilities, privileges, advantages or
        accommodations; [and] a failure to take such steps as may be necessary to ensure
        that no individual with a disability is excluded, denied services, segregated or
        otherwise treated differently than other individuals because of the absence of
        auxiliary aids and services, unless the entity can demonstrate that taking such steps
        would fundamentally alter the nature of the good, service, facility, privilege,
        advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

        61.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of persons

under the ADA, has a physical disability that substantially limits her major life activity of sight

within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied

full and equal access to the Website, has not been provided services that are provided to other patrons

who are not disabled, and has been provided services that are inferior to the services provided to

non-disabled persons. Defendant has failed to take any prompt and equitable steps to remedy the

discriminatory conduct as the violations are ongoing.

        62.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

incorporated therein, Plaintiff requests relief as set forth within the section titled Prayer For

Relief below.

                                   SECOND CAUSE OF ACTION
                        (Violations of the New York City Human Rights Law)
                                            (“NYCHRL”)
                                                 20
     Case 1:24-cv-07875-VEC           Document 11-1        Filed 11/26/24      Page 21 of 29




        63.     Plaintiff, SUSAN COMPETELLO, on behalf of herself and the New York City

Sub-Class Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        64.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

discriminatory practice for any person who is the owner, franchisor, franchisee, lessor, lessee,

proprietor, manager, superintendent, agent or employee of any place or provider of public

accommodation: [b]ecause of any person’s . . . disability . . . directly or indirectly: [t]o refuse,

withhold from or deny to such person the full and equal enjoyment, on equal terms and conditions,

of any of the accommodations, advantages, services, facilities or privileges of the place or provider

of public accommodation”.

        65.     Defendant’s physical establishment (“the dispensary”) is unquestionably a place of

“public accommodation” within the definitions of N.Y.C. Admin. Code § 8-102, and their Website,

www.soulflora.com which offers products, services and information is an extension to that

physicality and as such, is also considered a place of public accommodation,” within the definition

of N.Y.C. Admin. Code § 8-102(9).

        66.     Defendant is subject to NYCHRL because it owns and operates the Website

www.soulflora.com making it a “person” within the meaning of N.Y.C. Admin. Code § 8-102(1).

        67.     Defendant is in violation of N.Y.C. Administrative Code § 8-107(4)(a) in refusing

to update or remove access barriers to Defendant’s Website causing the Website and the services

integrated completely inaccessible to the blind. This inaccessibility denies blind patrons full and

equal access to the facilities, products, and services that Defendant makes available to the non-

disabled public.
                                                 21
     Case 1:24-cv-07875-VEC            Document 11-1          Filed 11/26/24       Page 22 of 29




        68.     Defendant is required to “make reasonable accommodation to the needs of persons

with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from discriminating

on the basis of disability not to provide a reasonable accommodation to enable a person with a

disability to satisfy the essential requisites of a job or enjoy the right or rights in question provided

that the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).

        69.     Defendant’s actions constitute willful intentional discrimination against the Sub-

Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8107(4)(a) and

§ 8-107(15)(a), in that Defendant has:

                a.      constructed and maintained a Website that is inaccessible to blind class
                        members with knowledge of the discrimination; and/or

                b.      constructed and maintained a Website that is sufficiently intuitive and/or
                        obvious that is inaccessible to blind class members; and/or

                c.      failed to take actions to correct these access barriers in the face of substantial
                        harm and discrimination to blind class members.

        70.     Defendant has failed to take any prompt and equitable steps to remedy the

discriminatory conduct as these violations are ongoing.

        71.     As such, Defendant discriminates, and will continue in the future to discriminate,

against Plaintiff and other members of the proposed class and subclass on the basis of disability in

the full and equal enjoyment of the products, services, facilities, privileges, advantages,

accommodations and/or opportunities of the Website under N.Y.C. Administrative Code § 8-

107(4)(a). Unless the Court enjoins Defendant from continuing to engage in these unlawful

practices, Plaintiff and members of the Class will continue to suffer irreparable harm.

                                                   22
     Case 1:24-cv-07875-VEC            Document 11-1        Filed 11/26/24       Page 23 of 29




         72.   Defendant’s actions were and are in violation of the NYCHRL, and therefore,

Plaintiff invokes the right to injunctive relief to remedy the discrimination.

         73.   Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as well as

punitive damages pursuant to § 8-502.

         74.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

         75.   Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set forth

below.

                                 THIRD CAUSE OF ACTION
                              (New York State Human Rights Law)
                                        (“NYSHRL”)


         76.   Plaintiff, SUSAN COMPETELLO, on behalf of herself and the Class and New

York City Sub-Classes Members, repeats and realleges every allegation of the preceding

paragraphs as if fully set forth herein.

         77.   At all times relevant to this action, the New York State Human Rights Law

(“NYSHRL”), Article 15 of the New York Executive Law §§ 290 et seq., covers the actions of the

Defendants.

         78.   Plaintiff, at all times relevant to this action, as a result of her loss of vision, has a

substantial impairment to a major life activity and is an individual with a disability under Article

15 of N.Y. Executive Law § 292(21).

         79.   Defendants, at all relevant times to this action, own and operates a place of public

                                                  23
     Case 1:24-cv-07875-VEC           Document 11-1        Filed 11/26/24      Page 24 of 29




accommodation, the subject Website, within the meaning of Article 15 of N.Y. Executive Law §

292(9). Defendant is a “person” within the meaning of Article 15 of N.Y. Executive Law § 292(1).

        80.     Plaintiff has visited the Website on a number of occasions and has encountered

barriers to her access that exist.

        81.     Pursuant to Article 15 N.Y. Executive Law § 296(2)(a) “it shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place of public accommodation ... because of the ...

disability of any person, directly or indirectly, to refuse, withhold from or deny to such person any

of the accommodations, advantages, facilities or privileges thereof."

        82.     Discrimination includes the refusal to adopt and implement reasonable

modifications in policies, practices, or procedures when they are necessary to afford facilities,

privileges, advantages, or accommodations to individuals with disabilities. Article 15 of N.Y.

Executive Law § 296(2)(a), § 296(2)(c)(i).

        83.     Defendant’s actions violate Article 15 of N.Y. Exec. Law § 296(2)(a) by

discriminating against the Plaintiff and Subclass by (i) owning and operating a website that is

inaccessible to disabled individuals who are sight-impaired and cannot discern the content thereof

without the use of a screen-reading program; (ii) by not removing access barriers to its Website in

order to make accessibility features of the sites known to disabled individuals who are sight-

impaired; and (iii) by refusing to modify the Website when such modifications are necessary to

afford facilities, privileges, advantages or accommodations to individuals with disabilities. This

inaccessibility denies disabled individuals who are sight-impaired, full, and equal access to the

facilities, goods, and services that the Defendant makes available to individuals who are not
                                                 24
     Case 1:24-cv-07875-VEC          Document 11-1        Filed 11/26/24       Page 25 of 29




disabled and can see without the need of a screen-reading program or other similar device. Article

15 of N.Y. Exec. Law § 296(2)(c).

       84.     Defendant’s discriminatory practice also includes, "a refusal to take such steps as

may be necessary to ensure that no individual with a disability is excluded or denied services

because of the absence of auxiliary aids and services, unless such person can demonstrate that

taking such steps would fundamentally alter the nature of the facility, privilege, advantage or

accommodation being offered or would result in an undue burden.” Article 15 of N.Y. Exec. Law

§ 296(2)(c).

       85.     Established guidelines exist for making websites accessible to disabled individuals.

The International Website Standards Organization, the Worldwide Consortium, known throughout

the world as “W3C,” has published version 2.1 of the Web Content Accessibility Guidelines

(“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making websites accessible to the

blind and visually impaired people. These guidelines are universally followed by most large

business entities and government agencies to ensure websites are accessible.

       86.     Defendant has intentionally and willfully discriminated against the Plaintiff and

Subclass and violation of the New York State Human Rights Law, Article 15 of N.Y. Exec. Law

§ 296(2) and the discrimination continues to date.

       87.     Absent injunctive relief, Defendant’s discrimination will continue against Plaintiff

and Subclass causing irreparable harm.

       88.     Plaintiff and the Subclass are therefore entitled to compensatory damages, civil

penalties and fines for each and every discriminatory act in addition to reasonable attorney fees

and costs and disbursements of their action. Article 15 of N.Y. Exec. Law §§ 297(9), 297(4)(c) et
                                                25
       Case 1:24-cv-07875-VEC         Document 11-1         Filed 11/26/24      Page 26 of 29




seq.


                              FOURTH CAUSE OF ACTION
                         (Violation of New York State Civil Rights)
                                        (“NYCRL”)

        89.     Plaintiff, SUSAN COMPETELLO, on behalf of herself and the New York City

Subclass Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        90.     Plaintiff served notice thereof upon the New York State Attorney General, as

required by N.Y. Civil Rights Law § 41. (Exhibit 1) (Notice to Attorney General)

        91.     Persons within New York State are entitled to full and equal accommodations,

advantages, facilities, and privileges of places of public accommodations, resort or amusement,

subject only to the conditions and limitations established by law and applicable alike to all persons.

No persons, being the owner of a place of public accommodation, shall directly or indirectly refuse,

withhold from, or deny to any person any of the accommodations, advantages, facilities, and

privileges thereof. N.Y. Civ. Rights Law § 40.

        92.     No person because of disability, as defined in § 292(21) of the Executive Law, shall

be subjected to any discrimination in her civil rights by person or by any firm, corporation, or

institution, or by the state or any agency or subdivision. N.Y. Civ. Rights Law (“NYCRL”) § 40-

c.

        93.     § 292 of Article 15 of the N.Y. Executive Law deems a disability a physical, mental,

or medical impairment resulting from anatomical, physiological, genetic, or neurological

conditions which prevents the exercise of a normal bodily function. As such, the Plaintiff is

                                                 26
        Case 1:24-cv-07875-VEC        Document 11-1        Filed 11/26/24      Page 27 of 29




disabled under the N.Y. Civil Rights Law.

         94.    Defendant discriminates against the Plaintiff and Subclass under NYCRL § 40 as

Defendant’s Website is a place of public accommodation that does not provide full and equal

accommodation, advantages, facilities, and privileges to all persons and discriminates against

disabled individuals who are sight impaired.

         95.    Defendant intentionally and willfully failed to remove the barriers on their Website,

discriminating against the Plaintiff and Subclass preventing access in violation of NYCRL § 40.

         96.    Defendant has failed to take any steps to halt and correct its discriminatory conduct

and discriminate against the Plaintiff and the Subclass members.

         97.    Under N.Y. Civil Rights Law § 41, “a corporation which violates any of the

provisions of §§ 40, 40-a, 40-b or 42 shall be liable for a penalty of not less than one hundred

dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby… in

any court of competent jurisdiction in the county in which the plaintiff or defendants shall reside.”

Id...

         98.    Plaintiff and the SubClass hereby demand compensatory damages of five hundred

dollars ($500.00) for the Defendant’s acts of discrimination including civil penalties and fines

pursuant to N.Y. Civil Law § 40 et seq.

                                  FIFTH CAUSE OF ACTION
                                      (Declaratory Relief)

         99.    Plaintiff, SUSAN COMPETELLO, on behalf of herself and the Class and New

York City Sub-Class Members, repeats and realleges every allegation of the preceding paragraphs

as if fully set forth herein.

                                                 27
     Case 1:24-cv-07875-VEC          Document 11-1         Filed 11/26/24      Page 28 of 29




       100.    An actual controversy has arisen and now exists between the parties in that Plaintiff

contends, and is informed and believes that Defendant denies, that the Website contains access

barriers denying blind customers the full and equal access to the products, services and facilities

of the Website, which Defendant owns, operates and controls, fails to comply with applicable laws

including, but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12182,

et seq., and N.Y.C. Admin. Code § 8-107, et seq. prohibiting discrimination against the blind.

       101.    A judicial declaration is necessary and appropriate at this time in order that each of

the parties may know its respective rights and duties and act accordingly.

                                        PRAYER FOR RELIEF

       WSHEREFORE, Plaintiff respectfully requests that the Court grant the following relief:

               a.      A preliminary and permanent injunction to prohibit Defendant from
                       violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,
                       N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take all the
                       steps necessary to make the Website fully compliant with the requirements
                       set forth in the ADA, and the implementing regulations, so that the Website
                       is readily accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates the Website
                       in a manner that discriminates against the blind and which fails to provide
                       access for persons with disabilities as required by Americans with
                       Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code
                       § 8-107, et seq., and the laws of New York;

               d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P. 23(a)
                       & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and
                       Plaintiff’s attorneys as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof, including
                       all applicable statutory and punitive damages and fines, to Plaintiff and the
                       proposed class and subclasses for violations of civil rights under New York
                       City Human Rights Law, the New York State Human Rights Law and the
                                                28
     Case 1:24-cv-07875-VEC           Document 11-1        Filed 11/26/24      Page 29 of 29




                        New York State Civil Rights Law;

              f.        Pre-judgment and post-judgment interest;

              g.        An award of costs and expenses of their action together with reasonable
                        attorneys’ and expert fees; and

              h.        Such other and further relief as the Court deems just and proper.

                                   DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact

the Complaint raises.

Dated: New York, New York

       November 26, 2024

                                                   Respectfully submitted,

                                                   JOSEPH & NORINSBERG, LLC


                                                   ___________________________
                                                   Jon L. Norinsberg, Esq.
                                                   Bennitta L. Joseph, Esq.
                                                   Attorneys for Plaintiff
                                                   110 East 59th Street, Suite 2300
                                                   New York, New York 10022
                                                   Tel. No.: (212) 227-5700
                                                   Fax No.: (212) 656-1889
                                                   jon@norinsberglaw.com
                                                   bennitta@employeejustice.com




                                                 29
